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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

NIPPON SHINYAKU CO., LTD.,

Plaintiff, C.A. No. 21-1015 (JLH)

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SAREPTA THERAPEUTICS, INC.,
Defendant.

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SAREPTA THERAPEUTICS, INC, and THE
UNIVERSITY OF WESTERN AUSTRALIA,
Defendant/Counter-Plaintiffs

V.

NIPPON SHINYAKU CO., LTD. and NS
PHARMA, ING.,

nee ee” Ne” Ngee” gg” See None” Sn” Se”

Plaintiff/Counter Defendants.

VERDICT FORM (PHASE D

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INSTRUCTIONS

When answering the following questions and completing this Verdict Form, please follow
the directions provided throughout the form. Your answer to each question must be unanimous.
Some of the questions contain legal terms that are defined and explained in detail in the Jury
Instructions. Please refer to the Jury Instructions for guidance on the law applicable to each
question.

As used herein:

1. The NS Patent refers to U.S. Patent No. 10,385,092.

2. The Wilton Patent refers to U.S, Patent No. 9,994,851.
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We, the jury, unanimously agree to the answers to the following questions as our verdict
in this case:

FINDINGS ON INVALIDITY OF THE NS PATENT

Directions for Question 1: Please answer Question 1,

Obviousness of the Asserted Claims of the NS Patent

1. Has Sarepta proven by clear and convincing evidence that the following claim of the
NS Patent is invalid as obvious? Place a check mark in the appropriate box for each
listed asserted claim.

YES “NO
(finding for Sarepta) (finding for Nippon Shinyaku)
We

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FINDINGS ON WILLFUL INFRINGEMENT OF NS PATENT (IF APPLICABLE)

Directions for Question 2: If you answered “NO” for Question 1, answer Question 2. Otherwise,
skip to Question 3.

2. Has Nippon Shinyaku proven by a preponderance of the evidence that Sarepta has
willfully infringed claim 3 of the NS Patent?

Checking “YES” below indicates a finding for Nippon Shinyaku
Checking “NO” below indicates a finding for Sarepta

YES NO

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FINDINGS ON INVALIDITY OF THE WILTON PATENT

Directions for Questions 3-4: Answer Questions 3 and 4, regardless of how you answered any
other Question.

Written Description Requirement for the Asserted Claim of the Wilton Patent

3. Have Nippon Shinyaku and NS Pharma proven by clear and convincing evidence that
the following claim of the Wilton Patent is invalid for lack of adequate written
description? (Place a check mark in the appropriate box below.)

Cl GhitiVera
US. Patent No. 999485)
YES NO
(finding for Nippon Shinyaku and NS Pharma) (finding for Sarepta)

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Enablement Requirement for the Asserted Claim of the Wilton Patent

4. Have Nippon Shinyaku and NS Pharma proven by clear and convincing evidence that
the following claim of the Wilton Patent is invalid for lack of enablement? (Place a
check mark in the appropriate box below.)

US. Patent No. 9,994,851)
YES NO

(finding for Nippon Shinyaku and NS Pharma) (finding for Sarepta)}

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FINDINGS ON WILLFUL INFRINGEMENT OF WILTON PATENT (IF APPLICABLE)

Directions for Question 5: If you answered “NO” for Question 3 and Question 4, then answer
Question 5. Otherwise, proceed to the last page of the Verdict Form.

5. Have Sarepta and UWA proven by a preponderance of the evidence that Nippon
Shinyaku and NS Pharma have willfully infringed claim 1 of the Wilton Patent?

Checking “YES” below indicates a finding for Sarepta and UWA
Checking “NO” below indicates a finding for Nippon Shinyaku and NS Pharma

YES NO Vv

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You have now reached the end of the verdict form, and you should review it to ensure it
accurately reflects your unanimous determinations. You must each sign the verdict form in the
spaces below and notify the Jury Officer after you have reached a verdict.

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Date: (3 f iF /IOSY

